Case 1:18-cv-07449-CBA-TAM Document 19 Filed 10/02/21 Page 1 of 2 PageID #: 231




                                                             October 2, 2021
 BY ECF
 Hon. Taryn A. Merkl
 United States Magistrate Judge
 United States District Court for the Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, New York 11201

        Re:     Kumer, et al. v. Hezbollah
                18-cv-07449 (CBA) (tam)

 Dear Judge Merkl:
        Plaintiffs file this status report pursuant to the Court’s order of September 7, 2021.
         This is a civil action pursuant to the Antiterrorism Act (“ATA”), 18 U.S.C. § 2333, against
 the Lebanon-based terrorist organization Hezbollah. The plaintiffs are American citizens who were
 harmed in rocket attacks carried out by Hezbollah against civilians in Israel in 2006. As explained
 in our letter of May 10, 2019 (DE 6), most of the plaintiffs herein previously filed an ATA suit
 against Hezbollah in the District of Columbia. Kaplan v. Hezbollah, 09-cv-646 (D.D.C.). That case
 was dismissed under the ATA’s “act of war” exception, 18 U.S.C. § 2336(a), but that dismissal
 was vacated on appeal. Kaplan v. Central Bank, 896 F.3d 501 (D.C. Cir. 2018).1 After remand
 plaintiffs moved to transfer the Kaplan action to this court. While that motion to transfer was
 pending, the statute of limitations for the plaintiffs’ ATA claims expired. 2 In order to avoid a
 scenario in which the D.C. court ultimately decided not to transfer the case but to dismiss it without


        1
          Shortly after remand from the D.C. Circuit, the ATA was amended to eliminate the “act
 of war” exception in cases where, as here, the terrorist group involved is a designated Foreign
 Terrorist Organization (“FTO”). See 18 U.S.C. § 2331(6). Thus, since Hezbollah was designated
 an FTO in 1997, the “act of war” exception is no longer relevant to ATA actions arising from
 Hezbollah attacks since 1997, such as this case.
        2
          See National Defense Authorization Act for Fiscal Year 2013, Pub. L. No. 112-239,
 § 1251(c) (Jan. 2, 2013) (set out as a note to 18 U.S.C. § 2333 (Special Rule Relating to Certain
 Acts of International Terrorism)) (extending until January 2, 2019, the statute of limitations on
 ATA claims arising from terrorist attacks that occurred after September 11, 2001).
Case 1:18-cv-07449-CBA-TAM Document 19 Filed 10/02/21 Page 2 of 2 PageID #: 232

   THE BERKMAN LAW OFFICE, LLC                                           October 2, 2021
                                                                         Page 2 of 2


 prejudice for improper venue or lack of personal jurisdiction in the District of Columbia, while the
 limitations date passed, the plaintiffs in Kaplan – along with several additional plaintiffs who did
 not previously bring suit against Hezbollah – filed this action.3
         The Kaplan action was eventually transferred to this court; however, it was then dismissed
 for failure to prosecute. On April 22, 2021, the Second Circuit reversed that dismissal. Kaplan v.
 Hezbollah, 844 F. App’x 459 (2d Cir. 2021). After remand the Kaplan plaintiffs (who include, as
 noted, most of the plaintiffs herein), moved for entry of default judgment against Hezbollah, and
 on May 24, 2021, Judge Cogan referred that motion to Magistrate Judge Tiscione for a report and
 recommendation. See Kaplan v. Hezbollah, 19-cv-03187 (BMC) (st), Order 6/4/21.
         The disposition of the motion for default judgment in Kaplan will have a significant impact
 on this case. Specifically, a central question at issue in the plaintiffs’ motion for default judgment
 in Kaplan is whether personal jurisdiction can be exercised over Hezbollah. Id. at DE 112. If
 personal jurisdiction is lacking in Kaplan then it is lacking in this case, too. If, on the other hand,
 the Kaplan court finds personal jurisdiction over Hezbollah and enters default judgment for the
 Kaplan plaintiffs, that will render the instant action superfluous for most (but not all) of the
 plaintiffs here.
         As the docket reflects, the plaintiffs have made multiple attempts to serve Hezbollah in this
 action, but so far without success. Plaintiffs could devise and propose to the Court a means for
 alternative service on Hezbollah (e.g., by publication or the like), but that would involve significant
 resources, including the retention of an expert and a translator, and probably publication costs.
 And, of course, the resolution of such a motion would require an investment of judicial resources.
 Given the impact of the decision in Kaplan on the future of this case, which will likely moot this
 case in whole or in respect to most of the plaintiffs, the plaintiffs respectfully believe that it would
 be most efficacious to stay this case pending the outcome of the pending motion in Kaplan.
        We thank you for your consideration.
                                                         Respectfully,


                                                         Robert J. Tolchin




        3
          Where a plaintiff faces procedural uncertainty in one suit and the looming expiration of a
 statute of limitations which would bar a new suit the proper course is to file a “protective suit.”
 Cote v. Wadel, 796 F.2d 981, 985 (7th Cir. 1986) (“Elementary prudence” requires a party “to file
 a protective suit” prior to the expiration of the statute of limitations, when personal jurisdiction is
 challenged in the first action).
